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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

NEAL PRESTON, individually and on
behalf of a nationwide class of similarly         Case No. 1:18-cv-01532
situated individuals,
                                                  Honorable Judge Sara L. Ellis
Plaintiff,

        v.

MIDLAND CREDIT MANAGEMENT,
INC.

Defendant.

                                     NOTICE OF APPEAL

        NOTICE IS HEREBY GIVEN that NEAL PRESTON (“Plaintiff”), Plaintiff in the above

named case, hereby appeals to the United States Court of Appeals for the Seventh Circuit from

the Order entered on the docket in this action on September 4, 2018 (ECF No. 26), by the

Honorable Sara L. Ellis, Judge of the United States District Court for the Northern District of

Illinois, Eastern Division. This appeal includes, without limitation, the Order dismissing

Plaintiff’s individual Fair Debt Collection Practices Act Claims (“FDCPA”) with prejudice and

his class based FDCPA claim without Prejudice.

Dated: October 2, 2018.                             Respectfully submitted,

                                                    s/ James C. Vlahakis
                                                    James C. Vlahakis
                                                    SULAIMAN LAW GROUP, LTD.
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                                                    Attorney for Plaintiff



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                                    CERTIFICATE OF SERVICE

          I hereby certify that I today caused a copy of the foregoing document to be electronically

filed with the Clerk of Court using the CM/ECF system, which will be sent to all attorneys of

record.

          Dated: October 2, 2018.


                                                              s/ James C. Vlahakis
                                                              James C, Vlahakis




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